    Case 5:21-cv-00616-JWH-SP Document 183-43 Filed 09/07/22 Page 1 of 1 Page ID
                                         #:2672
      From: "Artur Elizarov" <arthur.elizarov@gmail.com>
          To:    "Peter Hill" <PHill@goldwaterbank.com>
       Date:     3/3/2021 12:44:38 PM
    Subject:     Fwd: CONGRATS!! New Escrow 291 W Overlook, Palm Springs
Attachments:     291 W Overlook,PS_Termite Report.pdf
                 291 W Overlook, PS_RPA.pdf
                 291 W Overlook, PS_ADM1 .pdf
                 291 W Overlook, PS_CR1 .pdf




                         WARNING! WIRE FRAUD ADVISORY

      Before sending funds, always call your Escrow team to verify wire information




                                                         T
                                                       \/WEST

                                      Andrea Cross

                                       Escrow Officer



                   9440 Santa Monica Blvd. Suite 310, Beverly Hills, CA. 90210

                      P. (310) 402-5555 ext. 2071   I E-Fax.   (310) 402-5556

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